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UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CV08

PETER GUZMAN and MARIA
CARBAJAL,

Plaintiffs,

V8.

MICHAEL CHERTOFF, Secretary,
Department of Homeland Security;
JAMES T. HAYES, Field Office
Director, U.S. Immigration and
Customs Enforcement; PILAR _
GARCIA, Agent, U.S. Immigration
and Customs Enforcement: OUNTY
OF LOS ANGELES; LEROY BACA,
Sheriff of the County of Los Angeles;
TIMOTHY CORNELL, Captain, Los
Angeles County Inmate Reception
Center; SANDRA FIGUERAS,
Custodial Assistant, Los Angeles
County Sheriff's Department; AND
DOES 1-beo, 3 0,

Defendants.

cas no..¥08-01327CAS

COMPLAINT FOR VIOLATIONS
OF THE FIRST, FIFTH AND
FOURTEENTH AMENDMENTS TO
THE UNITED STATES
CONSTITUTION

DEMAND FOR JURY TRIAL

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JURISDICTION AND VENUE

l. This civil rights action for declaratory relief and compensatory and
punitive damages is brought pursuant to, inter alia, the Fourth, Fifth and Fourteenth
Amendments to the United States Constitution, 42 U.S.C. § 1983, the Federal Tort
Claims Act (“FTCA”), 28 U.S.C. §§ 2671, et seq. and law for relief from
commission of tortious acts. This Court has jurisdiction over federal claims
pursuant to the constitutional provisions enumerated and 28 U.S.C. § 1331 and
§ 1343 (3) and (4), as they are brought to redress deprivations of rights privileges
and immunities secured by the United States Constitution and by law. Jurisdiction
is also proper pursuant to the Declaratory Judgment Act, 28 U.S.C. §§ 2201 (a) and
2202. This Court has jurisdiction over the supplemental state claims pursuant to
28 U.S.C. § 1367.

2. Venue is proper in the Central District of California, under 28 U.S.C.
§ 1391(b), in that Defendants are located in this state and district, and a substantial
part of the acts and/or omissions giving rise to Plaintiffs’ claim occurred in this
district.

INTRODUCTION

3. The government — whether it be federal or local — lacks the authority to
deport a United States born citizen. Citizenship is the constitutional birthright of
every individual born within our national borders, and the first obligation of
government is to preserve the liberty and security of citizens to remain within their
homeland.

4, On May 11, 2007, immigration officials and agents of the Los Angeles
District of the United States Immigration and Customs Enforcement (“ICE”)
Division, under the United States Department of Homeland Security (“DHS”),
acting in concert with officials of the Los Angeles County Sheriff's Department
(“LASD”), unlawfully deported Plaintiff Peter Guzman to Tijuana, Mexico. The

illegal deportation of Mr. Guzman is the direct and foreseeable consequence of

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official procedures, practices, and policies that manifest, at best, intentional
discrimination based on race and ethnicity, and, in reality, a reckless disregard for
human life and liberty as well.

5. Mr. Guzman is a 30 year old United States citizen, born and raised in
Los Angeles County. He has never made his residence anywhere outside of Los
Angeles County. Mr. Guzman is cognitively impaired. He is unable to read at
more than a second-grade level and is unable to commit to memory basic
information like his home telephone number. Mr. Guzman has always lived under
the care and supervision of his mother, Plaintiff Maria Carbajal.

6. | Onor about May 11, 2007, Mr. Guzman was loaded on a bus by ICE
agents and forced to disembark in Tijuana, Mexico. All he had were the clothes he
was wearing and a few dollars in his pocket — not enough to purchase food or
shelter, He had no cellular phone and his identification had not been returned to
him by either LASD or ICE officials.

7. Prior to his unlawful deportation Mr. Guzman had only visited Mexico
on a couple of brief trips with his mother when he was a child. He was unfamiliar
with Tijuana and had no personal relationship with any residents of Tijuana.

8. Asa direct and foreseeable consequence of the illegal deportation,
Mr. Guzman spent nearly three months wandering on foot, lost in Mexico. He ate
out of garbage cans, bathed in rivers, and slept outside without adequate shelter or
warmth, That Mr. Guzman survived is a matter only of his spirit and will to live,
and fortuity. He suffered and continues to suffer grievous physical and
psychological injury.

9. Plaintiff Maria Carbajal learned that her son had been illegally
deported to Tijuana on or about May 11, 2007. For nearly three months following
May 11, 2007, Ms. Carbajal spent most of her days in Tijuana and neighboring
cities searching for her lost son. She regularly visited morgues, jails, shelters,

churches, riverbeds and dangerous locations in a desperate search for her son.

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Ms. Carbajal lived in constant fear for her son’s life. This tragic experience has
caused and continues to cause her excruciating emotional and psychological
suffering.

10. The circumstances under which Mr. Guzman was illegally deported
arose from a January 25, 2005 Memorandum of Understanding (“MOU”) between
DHS and LASD, and approved by the Los Angeles County Board of Supervisors.
The MOU created a pilot project through which LASD personnel — described as

“custody assistants” — were empowered to engage in certain federal immigration

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enforcement duties. Specifically, LASD custody assistants interviewed and

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processed presumed or suspected foreign-born inmates confined within the Los

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Angeles County jail system to determine the inmates’ immigration status and

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whether, in their judgment, the inmates were deportable. Custody assistants

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received only brief and inadequate training by ICE. Pursuant to the MOU, custody

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assistants were granted federal authority to obtain consents of non-citizens to be

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voluntarily deported and to make referrals to [CE for deportations.

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reasonably ensure that the LASD custodial assistants interviewing and processing

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inmates were adequately trained and knowledgeable as to the complexities of

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immigration law. Specifically, ICE failed to ensure that custodial assistants

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understood the basics of ascertaining and verifying U.S. citizenship status. In

addition, ICE officers and agents failed to exercise reasonable or prudent efforts to

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ensure that processing of inmates as to immigration status occur absent coercion or

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reliance upon invidious racial and ethnic biases and stereotypes. ICE officers also

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failed to develop adequate policies and procedures to ensure that those who are

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rights made by these individuals is knowing, intelligent, and voluntary.

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12. ICE officers and agents, acting in concert with LASD personnel,

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illegally deported Mr, Guzman, notwithstanding the fact that LASD’s own records

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11. ICE failed to undertake prudent efforts to train, supervise, or otherwise

mentally ill or cognitively impaired are adequately protected and that any waiver of

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correctly stated that he was born in California and contained his valid California
driver’s license number. Law enforcement records to which LASD and ICE had
ready access during Mr. Guzman’s arrest and detention correctly stated that

Mr. Guzman was born in California. In addition, LASD medical records for
Mr. Guzman, to which LASD and ICE had reasonable access, made clear that
Mr. Guzman was not capable of exercising a voluntary, knowing, and intelligent
waiver of his rights. ICE and LASD personnel ignored these records or did not
undertake reasonable and diligent efforts to review them and appreciate their
meaning.

13. Throughout the three-month ordeal in which Mr. Guzman was lost and
missing in Mexico, DHS officers and agents, including ICE officers and agents,
failed to undertake reasonable and diligent efforts to mitigate the harm resulting
from the illegal deportation. Despite being notified that they had-deported a U.S.
citizen, Defendants acted with reckless disregard to the physical and/or emotional
distress of Mr. Guzman and Ms. Carbajal. Federal officers and agents failed to
make an ongoing, good faith attempt to locate Mr. Guzman.

PARTIES
Plaintiffs

14. Plaintiff Peter Guzman is a native born United States citizen. While
his birth certificate lists his name as “Pedro Guzman,” Mr. Guzman uses the name
Peter in his daily life. Peter Guzman was born in Los Angeles, California, and
resided both before and after he was illegally deported in Lancaster, California.
Peter Guzman was illegally deported to Mexico in May 2007 and was missing for
over 85 days. He was detained by U.S. border patrol officers as he attempted to
cross the border near Calexico in early August 2007. On or about August 7, 2007,
Mr. Guzman was returned to the custody of his family only after efforts by his
family and counsel to secure his release from LASD custody. He now resides in his

family home with his mother, Plaintiff Maria Carbajal, in Lancaster, California.

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15. Plaintiff Maria Carbajal is a lawful permanent resident alien who
resides in Lancaster, California. Ms. Carbajal is Peter Guzman’s mother.
Defendants

16. Defendant Michael Chertoff is sued in his individual and official
capacities as the Secretary of DHS. In this capacity, he maintains responsibility for
the administration and enforcement of the nation’s immigration and naturalization
laws pursuant to sections 102 and 402 of the Homeland Security Act of 2002, 6
U.S.C. § 112 and § 202, respectively, and the Immigration and Nationality Act,

§ 102, 8 U.S.C. § 1103 (charging the Secretary of DHS with “administration and
enforcement of . . . laws relating to the immigration and naturalization of aliens.”).
17. Defendant James Hayes is the Field Office Director for the Los
Angeles District of ICE. He is responsible for the enforcement of the immigration

laws within this district. He is sued in his individual and official capacities.

18. Defendant Pilar Garcia is, and at all times mentioned herein was, an
Immigration Enforcement Agent with ICE. She is sued in her individual and
official capacities.

19. Defendant Chertoff, Defendant Hayes and Defendant Garcia are
hereafter collectively referred to as “ICE Defendants”.

20. Defendant County of Los Angeles is the legal entity responsible for the
acts and omissions of the Sheriff's Department of Los Angeles County including
the practices, policies, and procedures relating to detention, processing for
immigration status, and medical care.

21. Defendant Leroy Baca is the Sheriffof Los Angeles County. In this
capacity, he is responsible for the administration of the Los Angeles County jail
system, including for the officers who have been deputized to act as immigration
agents in the jail. He is sued in his individual and official capacities.

22. Defendant Timothy Cornell is the Captain of the Los Angeles County

Inmate Reception Center. In this capacity, he is responsible for the administration
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of the inmate reception center and was the immediate custodian of Mr. Guzman at
the time he was transferred to the custody of ICE. He is sued in his individual and
official capacities.

23. Defendant Sandra Figueras is, and at all times mentioned herein was, a
custody assistant with the Los Angeles County Sheriffs Department. She is sued
in her individual and official capacities.

24. Defendant County of Los Angeles, Defendant Baca, Defendant
Cornell and Defendant Figueras are hereafter collectively referred to as “LASD
Defendants”.

25. Defendants Does 1-100, inclusive, are sued herein under fictitious
names because their true names, capacities, and/or degree of responsibility for the
acts alleged herein are unknown to Plaintiffs at this time. When Plaintiffs ascertain
this information, they will amend this Complaint accordingly. Doe Defendants
include, but are not limited to, Doe ICE agents and Doe LASD officers. Plaintiffs
are informed and believe, and thereon allege, that Does I-10, inclusive, and each
of them, are legally liable to Plaintiffs in some part for the wrongful acts and
omissions of which Plaintiffs complain herein.

26.  Allof the Defendants acted under the color of law, in bad faith, and
contrary to established law and principles of constitutional and statutory law.

27. Plaintiffs are informed and believe and thereon allege that each of the
Defendants caused, and is liable for the unconstitutional and unlawful conduct and
resulting injuries, by, among other things, personally participating in said conduct
or acting jointly with others who did so; by authorizing, acquiescing or setting in
motion policies, plans or actions that led to the unlawful conduct; by failing or
refusing with deliberate indifference to maintain adequate supervision; and/or by
ratifying the unlawful conduct taken by employees under their direction and
control. Defendants actions were taken pursuant to a policies, custom or usage of

ICE and/or LASD.
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FACTUAL ALLEGATIONS

28. Plaintiff Peter Guzman was born on September 25, 1977 in Los
Angeles, California. [Exhibit A (Birth Certificate of Mr. Guzman).]

29. Mr. Guzman began attending elementary school in Los Angeles,
California. While he was still attending elementary school, his family moved to
Lancaster, California. Mr. Guzman grew up in Lancaster with his mother, Plaintiff
Maria Carbajal, and his six siblings.

30. Although Mr. Guzman completed elementary school and attended high
school through the eleventh grade, Mr. Guzman’s reading comprehension and
writing skills are severely limited. During elementary school, Mr. Guzman was
placed in special education classes. He continues to struggle with basic reading and
writing, visual processing, conceptualization skills, and memory. While
Mr. Guzman can speak both Spanish and English, his English language skills are
significantly stronger. Mr. Guzman finds it difficult to remember even basic
information like his home telephone number.

31. Since leaving high school, Mr. Guzman has worked in construction for
several different employers. Immediately before his arrest, Mr. Guzman worked
laying and finishing cement.

Mr. Guzman’s Incarceration

32. Onor about March 31, 2007, Mr. Guzman entered a private airport and
attempted to board an airplane. He was arrested for a misdemeanor violation of
California Penal Code § 625(b), interfering with an aircraft, and for violation of
California Vehicle Code § 10851(a), taking a vehicle without consent. Officers
with the Los Angeles County Sheriff's Department completed an incident report
following Mr. Guzman’s arrest.. The front page of the incident report lists
Mr. Guzman’s birthplace as California and lists his California driver’s license
number. [Exhibit B (County of Los Angeles Sheriff's Department, Incident Report
dated 3/31/06).|

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33. On March 31, 2007, following his arrest, Mr. Guzman was booked into
Los Angeles County Jail. During the booking process, Mr. Guzman was asked a
series of biographical questions, including a question regarding his birthplace.
Mr, Guzman responded that he was born in California. The Booking and Property
Record obtained from the Los Angeles County Jail dated March 31, 2007 lists
Mr. Guzman’s birthplace as “CA.” [Exhibit C (Los Angeles County Jail, Booking
and Property Records).] The booking officer also noted Mr. Guzman’s California

driver’s license number in these records.

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34. On April 19, 2007, Mr. Guzman pled guilty to a single count of

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misdemeanor trespassing under California Penal Code § 602. The judge suspended

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imposition of the sentence and placed Mr. Guzman on three years probation with a

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condition that he serve 120 days in County Jail, less 30 days credit for good

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behavior and time served.

35. Onor about April 5, 2007, while Mr. Guzman was incarcerated, he

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suffered a head injury and was found by LASD personnel in an altered mental state.

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He was taken by ambulance to Los Angeles Community Medical Center

(“LCMC”). Mr. Guzman told medical personnel that he had fallen and hit his head.

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He also told medical personnel at LCMC that he was hearing voices that told him

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bad things. Medical personnel at LCMC prescribed 5 milligrams of Zyprexa, an

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anti-psychotic medication, with instructions to increase the dosage to 10 milligrams

as needed and/or tolerated.

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36. During his incarceration, Mr. Guzman also informed LASD medical

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personnel that he was hearing voices. County medical records relating to

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Mr. Guzman, which were compiled during his detention, documented

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Mr. Guzman’s impaired mental state.

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The Deportation of Mr. Guzman
37.  Onor about January 25, 2005, ICE and LASD entered into a

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Memorandum of Understanding (“MOU”). The MOU was approved by the Los

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Angeles County Board of Supervisors. The MOU authorized LASD personnel to
perform certain federal immigration enforcement activities such as (1) interrogate
individuals to determine if there is probable cause for an immigration violation; (2)
complete criminal alien processing including fingerprinting, photographing and
interviewing for ICE supervisor review; (3) prepare immigration detainers; (4)
prepare affidavits and take sworn statements; and (5) prepare Notice to Appear
applications for signature of an ICE officer. According to the MOU, LASD
personnel performing the above tasks were to receive training from ICE officers. In
addition, the duties and actions of LASD custodial assistants were to be supervised
and directed by ICE agents.

38. On or about April 26, 2007, Mr. Guzman was interviewed by
Defendant Sandra Figueras, a custodial assistant with the Los Angeles County
Sheriff's Department. Mr. Guzman was interviewed even though he had previously
told prison officials that he was born in California and even though LASD records
reflected that he was born in California as well as listed his California driver license
number.

39. Mr. Guzman was selected for interview by custody assistant Sandra
Figueras solely on the basis of his perceived race, ethnicity and national origin.

40. No reasonable basis existed to suspect or otherwise conclude that
Mr. Guzman was nota United States citizen. In fact, numerous records maintained
by the Los Angeles County Sheriff's Department list Mr. Guzman’s birthplace as
California and list his valid California driver’s license number. [See Exhibit B
(Incident Report), Exhibit C (Los Angeles County Booking and Property Records),
Exhibit D (Page 1 of Los Angeles County Consolidated Criminal History for Pedro
Peter Guzman dated April 26, 2007).]

4}. At some point between April 26, 2007 and May 10, 2007, Mr. Guzman
was transferred to ICE custody by LASD officers.

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42. Onor about May 10, 2007, Pilar Garcia, an ICE agent, acting with
other Doe Defendant ICE agents, coerced Mr. Guzman to sign a Notice of Rights
and Request for Disposition (Form 1-826). This form, written entirely in Spanish,
effectively waived his legal rights to a removal deportation hearing and stated that
he was a citizen of Mexico and that he agreed to be voluntarily deported to Mexico.
Mr. Guzman received no assistance from ICE agents — or anyone else — in
attempting to read or understand the Notice of Rights and Request for Disposition
form that he signed.

43. Mr. Guzman could not read and did not understand the contents of the
Notice of Rights and Request for Disposition. He had no knowledge or
understanding of what would occur if he signed the Notice of Rights and Request
for Disposition form.

44. Even though Mr. Guzman responded to questions during his initial
processing by LASD by stating that he was born in California and LASD personnel
recorded his responses in LASD records, LASD officials made no attempt to verify
his citizenship. Although LASD contacted Mr. Guzman’s family on at least two
occasions during the course of his detention, no attempt was made to obtain
Mr. Guzman’s birth certificate or ask for any further verification of his place of
birth.

45, The practices and procedures implemented by both ICE and LASD to
process Mr. Guzman, to determine that he was unlawfully present in the United
States, and to coerce him to sign a document waiving his legal rights and requesting
a voluntary departure are part of a pattern, custom, and habit by ICE and LASD
personnel to presume foreign citizenship of inmates based on their race, ethnicity,
appearance, and/or surname. As consequence, ICE and LASD failed to undertake a
reasonable and diligent inquiry into the citizenship of Mr. Guzman based upon
readily available documentation, including the LASD’s own records and Mr.

Guzman’s documented responses to questioning.
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46. ICE personnel failed to adequately train and supervise LASD’s
custodial assistants. ICE personnel failed to review records in the possession of
LASD and ICE which clearly identify Mr. Guzman as being born in the United
States.

47. Mr. Guzman’s medical records show that he was unable to execute a
knowing, voluntary, and intelligent waiver of his legal rights so as to request a
voluntary departure to Mexico. The failure to examine and appreciate the
significance of LASD and ICE records reflects a deliberate indifference by ICE and
the LASD to the rights and well-being of Mr. Guzman and is a further example of
intentional racial discrimination by these governmental entities.

48. Evenif Mr. Guzman had been unlawfully present in the United States
— which he was not — a prior conviction under California Health & Safety Code
§ 11378 in March 2000 seriously calls into question whether Mr. Guzman would
have been eligible for voluntary deportation. LASD and ICE failed to take a careful
look at Mr. Guzman’s criminal history or any other records in their possession
before summarily deporting him from the United States. The failure to adequately
examine these records was consequence of inadequate training and supervision and
reflects a deliberate indifference by ICE and LASD to the rights and well-being of
inmates of or perceived to be racially/ethnically Latino.

49. Asadirect and foreseeable consequence of the practices and
procedures utilized, Mr. Guzman was placed by LASD and/or ICE personnel on a
bus to Tijuana on May 11, 2007. When the bus reached Tijuana, Mr. Guzman was
forced to disembark.

The Search for Mr. Guzman

50. On May 11, 2007 at approximately 11:15 a.m., Mr. Guzman placed a
single telephone cali to the home of his eldest brother, Juan Carlos Chabes.
Victoria Chabes, Mr. Guzman’s sister-in-law, answered the telephone.

Mr. Guzman was confused and disoriented. At one point during the call, he asked a

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bystander, “Where am I?” Ms. Chabes learned that Mr. Guzman had been placed
on a bus and sent to Tijuana. Mr. Guzman told Ms. Chabes that he had no money
or clothes. The call lasted no more than one minute and was made from a borrowed
cellular phone.

51. Mr. Guzman cannot remember his own home telephone number or the
telephone numbers of any of his family members. When he was deported, Mr.
Guzman had a slip of paper with him that contained his brother Juan’s telephone
number. At some point after the May 11, 2007 telephone call, Mr. Guzman lost the
slip of paper with his brother’s telephone number on it and was unable to call home
again.

52. Ms. Chabes immediately contacted Ms. Carbajal, Mr. Guzman’s
mother, by telephone and reported her conversation with Mr. Guzman.

Ms. Carbajal was anguished and extremely distressed at learning that Peter was
alone in Mexico, because she feared for his safety and well-being. Mr. Guzman
lived in his mother’s home his entire life and has always depended upon her for his
basic care.

53. Ms. Chabes then called her husband, Mr. Guzman’s eldest brother, Mr.
Juan Carlos Chabes.

54. On that same day, May 11, 2007, Ms. Chabes called LASD to report
her telephone call from Mr. Guzman and to get information regarding
Mr. Guzman’s deportation. The representative at LASD informed Ms. Chabes that
they had no record of an individual with Mr. Guzman’s name and birthdate. LASD
suggested that Ms. Chabes call the INS (now known as ICE) and provided her with
their telephone number. Ms. Chabes then called ICE and explained what had
happened to Mr. Guzman. The only information ICE told her was that there was no
individual with Mr. Guzman’s name or date of birth in their database.

55. On May 11, 2007, after learning the news of Mr. Guzman’s

deportation, Ms. Carbajal went straight to her home from Los Angeles, where she

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was running errands. She collected Peter’s birth certificate and got in a car with her
son, Michae! Guzman. Michael Guzman drove her to Tijuana to immediately begin
their search for Mr, Guzman.

56. On May 12, 2007, Michael Guzman had to return home to work. He
left his mother searching in Tijuana for Mr. Guzman. Because she had no car,

Ms. Carbajal had to search on foot and use public transportation.

57. Ms. Carbajal was only able to afford a hotel room for three nights.
After that, Ms. Carbajal received assistance from the owners of a local fruit
warehouse. They allowed her to sleep on the floor in a room in the warehouse in
exchange for cooking for the warehouse workers. The room had no windows and
was approximately the size of a closet.

58. Ms. Carbajal temporarily left her job as a cook at Jack in the Box to
devote all of her time to finding Peter. Typically, Ms. Carbajal started her search
early in the morning, around 6:00 a.m., and would not return to the warehouse until
late at night.

59. In May 2007, Mr. Juan Chabes and Ms. Carbajal went to the U.S.
Consulate in Tijuana, Mexico to ask for help in searching for Mr. Guzman. The
consulate informed them that unless Mr. Guzman comes to the consulate, says he is
a U.S. citizen, and asks for help, there was nothing they could do.

60. Over the next three months, Maria Carbajal, Juan Chabes, Victoria
Chabes, Michael Guzman and other members of Mr. Guzman’s family searched in
Tijuana and adjoining cities for Mr. Guzman. Ms. Carbajal spent most of this time.
in Tijuana. Ms. Carbajal followed-up on information and tips received from people
who believed that they had seen Mr. Guzman. Ms. Carbajal, her sons and other
family members printed thousands of flyers with Mr. Guzman’s picture and
physical description, and distributed them throughout the city. Mr. Guzman’s
family printed t-shirts with his image in hopes that someone might recognize him

and contact them.

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61. Ms. Carbajal searched hospitals, jails, shelters, commercial truck stops,
police stations, river beds, canals, alleys, and morgues. Ms. Carbajal also
monitored Tijuana’s city website viewing pictures of unidentified bodies found in
and near Tijuana. She walked through the most dangerous neighborhoods in
Tijuana. Ms. Carbajal spoke to anyone who wouid listen to her story in the hope
that they might possess some information about her missing son.

62. Ms. Carbajal depleted her limited savings quickly. After over a month
of searching, she had to return to her job at Jack in the Box a few nights a week in
order to provide for her youngest children. Every day that she did not have to
work, Ms. Carbajal searched for her missing son.

Mr. Guzman Missing in Tijuana

63. Mr. Guzman was missing in Mexico for over 85 days.

64. When he was told to exit the bus in Tijuana, Mr. Guzman had only
three dollars in his possession and the clothes on his back. His wallet and
California Driver’s license were never returned to him by ICE or LASD. Mr.
Guzman survived by begging and eating food out of trash cans.

65. Mr. Guzman bathed in rivers and canals.

66. Mr. Guzman was in constant fear for his life and safety. Mr. Guzman
kept moving to avoid danger. Mr. Guzman walked hundreds of miles — first south
to Ensenada, then back to Tijuana, and finally to Calexico.

67. Mr. Guzman slept during the day and walked at night because it was
extremely hot during the day. Mr. Guzman slept outside and had no protection
from the elements.

68. Mr. Guzman was located attempting to cross the border near Calexico.

69. When Mr. Guzman was detained in early August 2007, he was
returned to LASD custody. Mr. Guzman was traumatized. Mr. Guzman’s
condition was so poor when he first arrived back in the U.S. that LASD medical

personnel believed that Mr. Guzman was mentally retarded and mute.

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Defendants Failed to Meaningfully Assist in the Search to Locate Mr. Guzman

70. Officers and agents of the United States government provided slight
and inadequate assistance to Ms. Carbajal and her family so as to mitigate the harm
and suffering caused by the illegal deportation of Mr. Guzman. Until a habeas
action was filed in this Court, Guzman v. Chertoff, et al., USDC Case No. CY-07-
3746 GHK (SS), no assistance was forthcoming despite pleas for help from the
family and counsel, both of whom had repeatedly furnished the government with
copies of Mr. Guzman’s birth certificate.

71. Prior to the filing of the habeas action, counsel for the family informed

‘Defendant James Hayes, Field Office Director for the Los Angeles office of ICE, a

division of DHS, about the deportation. Mr. Hayes stated that upon proof ofa U.S.
birth certificate ICE would amend its records as to the citizenship of Mr. Guzman,
but ICE would take no additional steps to assist in finding and returning him to the
United States.

72. During the course of the habeas action, counsel for DHS represented to
the Court that alerts and flyers were being sent to law enforcement and consulates.
Although these alerts may have been circulated at some point to law enforcement,
including the border patrol, Mr. Guzman was not detained by border officials as a
result of these alerts. Rather, based on information and belief, Mr. Guzman was
detained by border guards because there was a warrant issued for his arrest after
Mr. Guzman failed to appear at a probation hearing following Defendants’ unlawful
deportation of him to Mexico.

73. Asadirect and foreseeable consequence of his illegal deportation,

Mr. Guzman suffered and continues to suffer grievous physical and psychological
injury.

74. As direct and foreseeable consequence of the illegal deportation of her
son, Ms. Carbajal suffered and continues to suffer grievous psychological injury

and emotional distress. The infliction of this injury and emotional distress was

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willful and was the result of deliberate indifference and gross negligence by
Defendants’ responsible for the illegal deportation and the failure of these parties to
undertake reasonable and diligent efforts to locate and return Mr. Guzman to his
home and family so as to mitigate the effects of their unlawful acts.

CLAIMS FOR RELIEF

FIRST CLAIM FOR RELIEF
(Fifth and Fourteenth Amendments to the U.S. Constitution)

(Against DHS Defendants and DOE ICE Agents 1-190) 1 © y

75. Plaintiffs reallege and incorporate herein by reference each and every
allegation contained in paragraphs 1 through 74 of this Complaint.

76. Defendants denied Plaintiff Guzman his constitutional right to liberty
and deprived him of his liberty without due process of law as guaranteed by the
Fifth and Fourteenth Amendments to the U.S. Constitution by the illegal, arbitrary,
and capricious deportation of Mr. Guzman, a United States citizen, to Mexico.
Defendants deported or caused Plaintiff Guzman to be deported without reasonable
basis or lawful authority.

77. The Defendants’ conduct violated clearly established constitutional or
other rights, of which Defendants knew, or of which a reasonable public official
should have known.

78. The actions and omissions of these Defendants, complained of herein,
were intentional, reckless, and show a callous disregard for, or deliberate
indifference to Plaintiffs’ personal safety, security, freedom, and civil and
constitutional rights.

79. Asadirect and proximate result of the unlawful actions of these
Defendants, Plaintiffs have suffered significant physical and emotional harm.

SECOND CLAIM FOR RELIEF
(Fifth and Fourteenth Amendments to the U.S. Constitution)

(Against DHS Defendants and DOE ICE Agents 1-10) {0 )y )

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80. Plaintiffs reallege and incorporate herein by reference each and every
allegation contained in paragraphs | through 74 of this Complaint.

81. Defendants deliberately and unconstitutionally discriminated against

{ Plaintiff Guzman on the basis of his race and ethnicity so as to deny him equal

protection of the law and his liberty by illegally deporting him to Mexico.

82. The Defendants’ conduct violated clearly established constitutional or
other rights, of which Defendants knew, or of which a reasonable public official
should have known.

83. The actions and omissions of these Defendants complained of herein
were intentional, reckless, and show a callous disregard for, or deliberate
indifference to Plaintiffs’ personal safety, security, freedom, and civil and
constitutional nghts.

84. Asa direct and proximate result of the unlawful actions of these
Defendants, Plaintiffs have suffered significant physical and emotional harm.

THIRD CLAIM FOR RELIEF
(Fifth and Fourteenth Amendment to the U.S. Constitution)

(Against DHS Defendants and DOE ICE Agents 1-100) /0,)

85. Plaintiffs reallege and incorporate herein by reference each and every
allegation contained in paragraphs | through 74 of this Complaint.

86.  Asadirect result of Defendants’ actions, policies and procedures,
Ms. Carbajal was deprived of the companionship, custody and control of her
dependent son in violation of the Fifth and Fourteenth Amendment of the United
States Constitution.

87. Ms. Carbajal has cared for Mr. Guzman for his entire life. The
reckless, intentional, and deliberate acts and omissions of Defendants forced
Ms. Carbajal to travel to Mexico and suffer innumerable hardships searching for her

son,

COMPLAINT 17

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88. The Defendants’ conduct violated clearly established constitutional or
other rights, of which Defendants knew, or of which a reasonable public official
should have known.

89, The actions and omissions of these Defendants complained of herein
were intentional, reckless, and show a callous disregard for, or deliberate
indifference to Plaintiffs’ personal safety, security, freedom, and civil and
constitutional rights.

90. Asa direct and proximate result of the unlawful actions of these
Defendants, Plaintiffs have suffered significant physical and emotional harm.

FOURTH CLAIM FOR RELIEF
(Fifth and Fourteenth Amendments to the United States Constitution)

(42 U.S.C. § 1983)
(Against LASD Defendants and DOE LASD Officers 1-194) | OF

91. Plaintiffs reallege and incorporate herein by reference each and every
allegation contained in paragraphs 1 through 74 of this Complaint.

92. Defendants denied plaintiff Guzman his constitutional right to liberty
and deprived him of his liberty without due process of law as guaranteed by the
Fifth and Fourteenth Amendments to the U.S. Constitution by causing or
participating in the illegal, arbitrary, and capricious deportation of Mr. Guzman, a
United States citizen, to Mexico. Defendants deported or caused Plaintiff Guzman
to be deported without reasonable basis or lawful authority.

93. These violations are compensable pursuant to 42 U.S.C. § 1983. Asa
result of Defendants’ conduct, Plaintiffs have suffered significant physical and
emotional harm.

FIFTH CLAIM FOR RELIEF
(Fifth and Fourteenth Amendments to the United States Constitution)

(42 U.S.C. § 1983)
(Against LASD Defendants and DOK LASD Officers 1-TeQ) \?

COMPLAINT 18

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94. Plaintiffs reallege and incorporate herein by reference each and every
allegation contained in paragraphs 1 through 74 of this Complaint.

95. Defendants deliberately and unconstitutionally discriminated against
plaintiff Guzman on the basis of his race and ethnicity so as to deny him equal
protection of the law and his liberty by causing or participating in the illegal
deportation of Mr. Guzman.

96. These violations are compensable pursuant to 42 U.S.C. § 1983. Asa
result of Defendants’ conduct, Plaintiffs have suffered significant physical and
emotional harm.

SIXTH CLAIM FOR RELIEF
(First and Fourteenth Amendments to the United States Constitution)

(42 U.S.C. § 1983 - Loss of Familial Association)
(Against LASD Defendants and DOE LASD Officers 1-196) 10 )y

97. Plaintiffs reallege and incorporate herein by reference cach and every
allegation contained in paragraphs | through 74 of this Complaint.

98. Defendants denied Plaintiff Maria Carbajal her constitutional rights
under the First and Fourteenth Amendments when they deprived her familial
association with her dependant son, Mr. Guzman. Defendants’ illegal, arbitrary,
and capricious deportation of Mr. Guzman to Mexico violated Ms. Carbaj al’s
fundamental liberty interest as guaranteed by the U.S. Constitution.

99. These violations are compensable pursuant to 42 U.S.C. § 1983. Asa
result of Defendants’ conduct, Plaintiffs have suffered significant physical and
emotional harm.

ADDITIONAL CLAIMS FOR RELIEF

100. In addition to filing this Complaint, Plaintiffs are presenting a claim
pursuant to the Federal Tort Claims Act seeking relief from the United States of
America. If the claim is denied, Plaintiffs will amend this Complaint to seek

monetary damages from the United States of America for various torts committed.
COMPLAINT 19

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101. In addition to filing this Complaint, Plaintiffs are presenting a claim
pursuant to California Government Code § 905, et seq. to the County of Los
Angeles seeking relief from the County of Los Angeles. If the claim is denied,
Plaintiff will amend this Complaint to seck monetary damages from the County of
Los Angeles for various torts committed.

PRAYER FOR RELIEF

WHEREFORE, each Plaintiff prays for judgment against all Defendants, and
each of them, as follows:

1. For general damages against all Defendants, jointly and severally, in
an amount to be proven at trial;

2. For special damages against all Defendants, jointly and severally, in an
amount to be proven at trial;

3. For punitive and exemplary damages against the individual law
enforcement officer defendants, and Does 1-PR0, jointly.and severally in an amount
to be proven at trial; ;

4, For reasonable costs and attorneys’ fees and expenses pursuant to 42
U.S.C. § 1988 and any other applicable law;

5. Declare the actions and omissions of defendants violative of Plaintiffs’
constitutional rights under the First, Fifth and Fourteenth Amendments; &

6. Grant such further relief as the Court deems just and proper.
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COMPLAINT 20

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DEMAND FOR JURY TRIAL
Plaintiffs demand a trial by jury in this matter.

Dated: February 27, 2008 JAMES J. BROSNAHAN
FRANCHESCA C. HERRERA
MORRISON & FOERSTER LLP

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es J. Brosfiahan
ttorneys for Petitioner

Dated: February 27, 2008 MARK D. ROSENBAUM
CATHERINE E. LHAMON
AHILAN T. ARULANANTHAM
RANJANA NATARAJAN

MELINDA BIRD
ACLU FOUNDATION OF SOUTHERN
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Attorneys for Petitioner

COMPLAINT 1

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Exhibit A
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REPORT CONTINUATION NARRATIVE

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

PETER GUZMAN and MARIA CARBAJAL CASE NUMBER

PLAINTIEF(S) CV 08 -0 1 3 2. 7¢ PSs

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Gee pfrachmat ‘) : SUMMONS

DEFENDANT(S).

TO: THE ABOVE-NAMED DEFENDANT(S):

YOU ARE HEREBY SUMMONED and required to file with this court and serve upon plaintiff's attorney
James J. Brosnahan; Franchesca C, Herrera ,_ whose address is:

{addt'i counsel on attachment)
MORRISON & FOERSTER LLP

425 Market Street, 31st Floor

San Francisco, California 94105-2482
Tel: (415) 268-7000, Fax: (415) 268-7522

an answer to the complaint 4 amended complaint O counterclaim U1 cross-claim
which is herewith served upon you within __29_ days after service of this Summons upon you, exclusive
of the day of service. If you fail to do so, judgement by default will be taken against you for the relief
demanded in the complaint.

FEB 27 2008
Dated:

CV-OLA (OL/01) SUMMONS

Case 2:08-cv-01327-GHK-SS Document1 Filed 02/27/08 Page 41 0f 47 Page ID #:41

ATTACHMENT TO SUMMONS

MICHAEL CHERTOFF, Secretary, Department of Homeland Security; JAMES T.
HAYES, Field Office Director, U.S. Immigration and Customs Enforcement;
PILAR GARCIA, Agent, U.S. Immigration and Customs Enforcement; COUNTY
OF LOS ANGELES; LEROY BACA, Sheriff of the County of Los Angeles;
TIMOTHY CORNELL, Captain, Los Angeles County Inmate Reception Center;
SANDRA FIGUERAS, Custodial Assistant, Los Angeles County Sheriff's
Department; AND DOES 1-180, 70 )

Case 2:08-cv-01327-GHK-SS Document1 Filed 02/27/08 Page 42 of 47 Page ID #:42

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

PETER GUZMAN and MARIA CARBAJAL CASE NUMBER gs

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(see athachmendt:) SUMMONS
. DEFENDANT(S).

TO: THE ABOVE-NAMED DEFENDANT(S):

YOU ARE HEREBY SUMMONED and required to file with this court and serve upon plaintiff's attorney
James J. Brosnahan; Franchesca C, Herrera , whose address is:

(addt'l counsel on attachment)
MORRISON & FOERSTER LLP

425 Market Street, 31st Floor

San Francisco, California 94105-2482
Tel: (415) 268-7000, Fax: (415) 268-7522

an answer to the complaint C amended complaint LU) counterclaim LI cross-claim
which is herewith served upon you within __60__ days after service of this Summons upon you, exclusive
of the day of service. If you fail to do so, judgement by default will be taken against you for the relief

demanded in the complaint.

FEB 27 2008 NATALIE LONGS
Dated: By:

Deputy Clerk *

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(Seal of the Court) 1198

CV-D1A (O1/01) SUMMONS
Case 2:08-cv-01327-GHK-SS Document1 Filed 02/27/08 Page 43 of 47 Page ID #:43

ATTACHMENT TO SUMMONS

MICHAEL CHERTOFF, Secretary, Department of Homeland Security; JAMES T.
HAYES, Field Office Director, U.S. Immigration and Customs Enforcement;
PILAR GARCIA, Agent, U.S. Immigration and Customs Enforcement; COUNTY
OF LOS ANGELES; LEROY BACA, Sheriff of the County of Los Angeles;
TIMOTHY CORNELL, Captain, Los Angeles County Inmate Reception Center;
SANDRA FIGUERAS, Custodial Assistant, Los Angeles County Sheriff's
Department; AND DOES 1-T8, i0

Case 2:08-cv-01327-GHK-SS Document 1 Filed 02/27/08 Page 44 of 47 Page ID #:44

wy UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

I (a) PLAINTIFFS (Check box if you are representing yourself 0) DEFENDANTS
PETER GUZMAN and MARIA CARBAJAL MICHAEL CHERTOFF, et al.

(b) County of Residence of First Listed Plaintiff (Except in U.S. Plaintiff Cases): County of Residence of First Listed Defendant (In U.S. Plaintiff Cases Only):
County of Los Angeles

(c) Attomeys (Firm Name, Address and Telephone Number. If you are representing Attorneys (If Known)

yourself, provide same.) _
James f Brosnahan (SBN 34555), Franchesca C. Herrera (SBN

239081) (Addt'l counsel on attachment)
Morrison & Foerster, 425 Market St., 31st Floor, San Francisco, CA
94105, Tel: (415) 268-7000, Fax: (415)268-7522

il. BASIS OF JURISDICTION (Place an X in one box only.} Tl. CITIZENSHIP OF PRINCIPAL PARTIES - For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant.)
(21 US. Government Plaintiff (13 Federal Question (U.S. PTF DEF PTF DEF
Government Nota Party) Citizen of This State (1 (11 Incorporatedor Principal Place O4 O14
of Business in this State
[2 U.S. Government Defendant O14 Diversity (Indicate Citizenship | Citizen of Another State G2 2 Incorporated and Principal Place O05 [15
of Parties in Item iD of Business in Another State
Citizen or Subject of a Foreign Country 03 3 Foreign Nation 6 O86

IV. ORIGIN (Place an X in one box only.)

1 Original ()2 Removed from O13 Remanded from O14 Reinstated or (15 Transferred from another district (specifyy. [6 Multi- (17 Appeal to District

Proceeding State Court Appellate Court Reopened District Judge from
Litigation Magistrate Fudge

¥. REQUESTED IN COMPLAINT: JURY DEMAND: [eYes (1 No (Check ‘Yes* only if demanded in complaint.)
CLASS ACTION under F.R.C.P. 23: C1 Yes i'No [e MONEY DEMANDED IN COMPLAINT: $_ Unspecified

VL CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement ofcause. Do not cite jurisdictional statutes unless diversity.)
Amend. I, V, XIV, U.S. Constitution; see Bivens v. Six Unknown Agents, 403 US 388 (1971); 42 ULS.C. Sec. 1983; civil suit for damages for

deprivation of liberty without due process, equal protection and familial association.
VIL NATURE OF SUIT (Place an X in one box only.)

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01410 Antitrust O §20 Marine 0310 Airplane : PROPERTY 1518 Motions to Act

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Access to Justice (3245 Tort Product Liability (440 Other Civil or Defendant)

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State Statutes USC 7609

VIil(a). IDENTICAL CASES: Has this action been previously filed and dismissed, remanded or closed? MNo L Yes

If yes, list case number(s):

FOR OFFICE USE ONLY: = Case Number:

CV-71 (07/05) CIVIL COVER SHEET Page | of 2

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Case 2:08-cv-01327-GHK-SS Document1 Filed 02/27/08 Page 45 o0f47 Page ID #:45

tony UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

AFTER COMPLETING THE FRONT SIDE OF fORM CV-71, COMPLETE THE INFORMATION REQUESTED BELOW.

VILI(b). RELATED CASES: Have any cases been previously filed that are related to the present case? ONo ([e’Yes
H yes, list case number(s); U.S. District Court Case No. Civ. 07-3746 GHK (SS)

Civil cases are deemed related if a previously filed case and the present case:
(Check all boxes that apply) (WA. Arise from the same or closely related transactions, happenings, or events, or
CIB. Call for determination of the same or substantially related or similar questions of law and fact; or
(WC. For other reasons would entail substantial duplication of labor if heard by different judges; or
(1 D. involve the same patent, trademark or copyright, and one of the factors identified above in a, b or ¢ also is present.

IX. VENUE: List the California County, or State if other than California, in which EACH named plaintiff resides (Use an additional sheet if necessary)
(1) Check here if the U.S. government, its agencies or employees is a named plaintiff.

PETER GUZMAN, County of Los Angeles
MARIA CARBAJAL, County of Los Angeles

List the California County, or State if other than California, in which EACH named defendant resides. (Use an additional sheet if necessary).

Check here if the U.S. government, its agencies or employees is a named defendant.
Cree eH OEE Dacian cf Columbia: JAMES HAYES, County of Los Angeles; PILAR GARCIA, County of Los Angeles; COUNTY OF

LOS ANGELES, County of Los Angeles; LEROY BACA, County of Los Angeles; TIMOTHY CORNELL, County of Los Angeles; SANDRA
FIGUERAS, County of Los Angeles.

List the California County, or State if other than California, in which EACH claim arose. (Use an additional sheet if necessary)
Note: In land condemnation cases, use the location of the tract of land involved.

County of Los Angeles

pF £- i, i
X. SIGNATURE OF ATTORNEY (OR PRO PER): Mike {aJ YAL—S Date

Notice to Counsel/Parties: The CV-71 (JS-44) Civil Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings
or other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3-1 is not
filed but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions
sheet.)

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code Abbreviation Substantive Statement of Cause of Action

861 HLA Afl claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended,
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as provéders of services under the
program. (42 U.S.C. 1935FF(b))

862 BL All claims for “Black Lung” benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.
(30 U.S.C. 923)

863 DIWC All claims fited by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended; plus ail claims filed for child’s insurance benefits based on disability. (42 U.S.C. 403(g))

863 DIWW Ali claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Securtly
Act, as amended, (42 U.S.C. 405(g))

864 SSID All claims for supplemental security income payments based-upon disability fited under Tide 16 of the Social
Security Act, as amended.

$65 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended. (42
U.S.C. (g)}

CV-71 (07/05) CIVIL COVER SHEET : Pape 2 of 2

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Re: Guzman, et al. v. Chertoff, et al.
Attachment to Civil Cover Sheet [(c):
Additional counsel for Plaintiffs, Peter Guzman and Maria Carbajal

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge Christina A. Snyder and the assigned
discovery Magistrate Judge is Suzanne H. Segal.

The case number on ali documents filed with the Court should read as follows:

Ccv08- 1327 CAS (SSx)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOTICE TO COUNSEL

A copy of this notice must be served with fhe summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on ail plaintiffs).

Subsequent documents must be filed at the following !ocation:

[X] Western Division LJ Southern Division Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St, Rm. 1-053 3470 Twelfth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

CV-18 (03/08) NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

